               Case 2:11-cr-00353-MCE Document 92 Filed 06/26/13 Page 1 of 3



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   Attorney for:
 5 ANTHONY WILLIAMS
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 8
 9                             IN THE UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                           CASE NO. 11-cr-00353 MCE
13                               Plaintiff,              STIPULATION AND ORDER
                                                         CONTINUING JUDGMENT
14   v.                                                  AND SENTENCING OF
                                                         DEFENDANTS McCLENDON
15   SEAN McCLENDON, et. al.,                            AND WILLIAMS
16                               Defendants,
17
18                                             STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, JEAN M. HOBLER,
20
     defendant SEAN McCLENDON, by and through his counsel of record, DONALD H. HELLER, and
21
     ANTHONY WILLIAMS, by and through his counsel of record, SCOTT N. CAMERON, hereby
22
     stipulate as follows:
23
24              1. By previous order, this Court set the date for judgment and sentencing of defendants

25                  SEAN McCLENDON and ANTHONY WILLIAMS for June 27, 2013 (ECF Docket

26                  No. 78).
27              2. Due to the assignment of this case to the Honorable Judge Nunley, the subsequent
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     Case 2:11-cr-00353-MCE Document 92 Filed 06/26/13 Page 2 of 3


         recusal by Judge Nunley, the subsequent assignment of the case to the Honorable
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         Judge Karlton, and the reassignment of this case back to the Honorable Judge
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 3       England, the sentencing date previously scheduled was vacated (ECF Docket No. 87).

 4       As such, there is no pending date for the sentencing of defendants SEAN
 5       McCLENDON and ANTHONY WILLIAMS.
 6
      3. By this stipulation, the parties now move this Court for an order setting the date for
 7
         judgment and sentencing of defendants McCLENDON and WILLIAMS for March
 8
         20, 2014.
 9
10    4. Both defendants McCLENDON and WILLIAMS are continuing to cooperate with the

11       government and their sentencing should not occur until the pending trial against the

12       remaining defendant has concluded.
13    5. The trial of the remaining defendant is presently set to commence on May 3, 2014.
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      6. It is further stipulated that, as to defendants McCLENDON and WILLIAMS, the
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         matter will not be referred to the U.S. Probation Department for a Presentence
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         Investigation Report until it has been determined by the parties that the sentencing
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18       will occur on March 20, 2014, and in that event, the parties shall submit a stipulation

19       and proposed order, on or before January 30, 2014, referring the defendants to the

20       U.S. Probation Department.
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                (THIS SECTION INTENTIONALLY LEFT BLANK)
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             Case 2:11-cr-00353-MCE Document 92 Filed 06/26/13 Page 3 of 3


               7. In the event that the remaining defendant resolves his case before his currently
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                  scheduled trial date, the parties to this stipulation intend to request that the sentencing
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 3                date be advanced accordingly.

 4         The parties have authorized the defense counsel for Anthony Williams to sign this stipulation
 5 on their behalf.
 6
           IT IS SO STIPULATED.
 7
 8         DATED: June 4, 2013                                   BENJAMIN WAGNER
                                                                 United States Attorney
 9
10                                                        by     /s/ Jean M. Hobler
                                                                 JEAN M. HOBLER
11                                                               Assistant U.S. Attorney

12
           DATED: June 4, 2013
13                                                        by     /s/ Donald H. Heller
14                                                               DONALD H. HELLER
                                                                 Counsel for SEAN McCLENDON
15
           DATED: June 4, 2013
16                                                        by     /s/ Scott N. Cameron
                                                                 SCOTT N. CAMERON
17
                                                                 Counsel for ANTHONY WILLIAMS
18
19                                               ORDER

20
           IT IS SO FOUND AND ORDERED. The date for judgment and sentencing of defendants
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     McCLENDON and WILLIAMS is continued to March 20, 2014 at 9:00 a.m. in Courtroom No. 7.
22
23 DATED: June 25, 2013
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                                                 ___________________________________________
26                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT
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